                   Case 4:04-cr-00249-JM                     Document 566         Filed 05/20/10             Page 1 of 7
~AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1


                                      UNITED STATES DISTRICT COURT                                               MAY 20 2010
                                                         Eastern District of Arkansas
                                                                                                      JA~K
                                                                                                      By'~
                                                                                                                                  DEP CLERK
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                             v.                                         (For Revocation of Probation or Supervised Release)
              MONICA C. ECKWOOD

                                                                        Case No. 4:04cr00249-06 JMM
                                                                        USM No. 23740-009
                                                                         Jenniffer Horan
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           Special, General & Standard of the term of supervision.
o was found in violation of condition(s)                                            after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                              Violation Ended
Special                           Failure to report for substance abuse treatment & drug testing              04/08/2010

Special                           Failure to pay restitution                                                  03/24/2010
General                           Failure to refrain from use of a controlled substance                       03/26/2010
Standard 3                        Failure to answer the probation officer truthfully                          03/26/2010
       The defendant is sentenced as provided in pages 2 through            5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes ill
economIC cIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7915                      OS/20/2010
                                                                                            Date of Imposition of Judgment

                                                                        ~~- vV1~
Defendant's Year of Birth:           1986

City and State of Defendant's Residence:
Little Rock, Arkansas
                                                                        cr===                     Signature of Judge

                                                                         James M. Moody                                US District JUdge
                                                                                               Name and Title of Judge

                                                                         OS/20/2010
                                                                                                         Date
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AD 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet lA

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DEFENDANT: MONICA C. ECKWOOD
CASE NUMBER: 4:04cr00249-06 JMM

                                                        ADDITIONAL VIOLATIONS

                                                                                                                   Violation
Violation Number                 Nature of Violation                                                               Concluded
Standard 2                        Failure to submit monthly supervision reports                                    05/01/2010

Standard 10                       Failure to refrain from engaging in criminal activity                            04/13/2010
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 AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                                Judgment - Page     3     of     5
 DEFENDANT: MONICA C. ECKWOOD
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                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
FOUR (4) MONTHS




      o The court makes the following recommendations to the Bureau of Prisons:




      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      'i/ The defendant shall surrender for service of sentence at the institution designated by th~ Bureau of Prisons:
          r¥' before 2 p.m. on _0_6_/_21_/_20_1_0                        _
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                     to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                             By
                                                                                          DEPUTY UNITED STATES MARSHAL
 AO 245D            Case
             (Rev. 12/07)    4:04-cr-00249-JM
                          Judgment                            Document 566
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             Sheet 5 - Criminal Monetary Penalties

                                                                                                                         Judgment - Page           _...:.4__   of    5
 DEFENDANT: MONICA C. ECKWOOD
 CASE NUMBER: 4:04cr00249-06 JMM
                               CRIMINAL MONETARY PENALTIES

      The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                     Assessment                                                                                                           Restitution
 TOTALS         $                                                                                                                  $ 13,357.80


 DO The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must
      be paid before the United States is paid.

 Name of Payee                             Total Loss*                                      Restitution Ordered                                     Priority or Percentage

SEE ATTACHMENT                                                                                          $13,357.80




 TOTALS                                   $~                  ---.,;O;.;,;'O;..,;;O_    $               ....;.1~3,:..;;.3,;;;,.57;..;,.8,;;;,.0~



 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).


      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the           D fine                    D restitution.
      ~ the interest requirement for the          D   fine        rtt restitution is modified as follows:
 * Findings for the total amount of losses are required under Chapters 109A, 110, UOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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                   Account 29
Date                 Retailer      Check #   Amount
8/17/2004       Wal-Mart            2861       $425.49
8/19/2004       Payless             2864        $55.27
8119/2004       Family Dollal'      2866       $130.24
6/21/2004       Dollar General      2867       $176.82
8/21/2004       Krogers             2868       $167.06
8/22/2004       M'chael's           2669       $114.57
8/22/2004        Burlington         2870       $253.33
8/22/2004        Rack Room          2872        $65.54
8/22/2004        Dollar Tree        2673        $81.66
8122/2004        Dollar General     2874       $122.31
6/24/2004        JC Pennys          2676       $200.00
8/24/2004        Lowes              2877       $400.00
8/25/2004        Fred's             2878       $132.83
8/25/2004        Hastings           2879       $163.49
812612004        Family Dollar      2880       $125.01
8126/2004        JC Pennys          2881       $200.00
8/26/2004        Wal-Mart           2883       $400.00
8/2812004        Hancocks           28fi4      $200.00
8126/2004        Tuesday Morning    2885       $188.83
8/26/2004      . Lowes              2886       $400.00
812612004        Super Stop         2887        $35.86
8/2612004       Wal·M~rt            2888       $400.00
6/27/2004       Burger KIng         2669        $19.98
8127/2004       Tuesday Moming      2891       $17e.96
6/27/2004       McDonald's          2692        $13.29
8/27/2004       USA Drug            2893        $92.42
8/27/2004       Michael's           2894       $188.31
8/27/2004       MexicO Chiquita     2895        $28.45
8/2712004       Wendy's             2896        $18.35
8/27/2004       Lowes               2898       $400.00
8/2812004       Krogers             2897        $94.39
8/28/2004       Ex)(on              2899        $34.20
8/29/2004       Krogers             2902       $191.41
8/29/2004       Majic Meut          2903        $30.00
8/29/2004       Home Depot          2904       $428.74
8/29/2004       Family Dollar       2905       $145.52
8/30/2004       Burger King         2906        $16.45
8/30/2004       Burger King         2907        $21.06
6/3012004       PlzzaHul            2911        $12.07
8/31J2 004      Krogers             2912       $166.15
9fTI2004        USA Drug            2913       $100.51

                                              $6,616.61
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                                                                 ' I ' ; , . ) \'

                                                                                                                 1\'




                               ACCOUNT a                                                                                   .. , .... -' ...... '
    Cbtlek. 'o,te                   RatallM'                    Amount
     2199 9/512004          Aft)yt                                    .1U8 '
     221b     Vt812004 .\' Back Yard But1erl                          IfO.Qt·
     nu       ill1lZ~      Qv..tVard 8lqIc.                         ·$1'\.44"
     22&4     GJt 112004    Buel98t Sever                           S10·tilO '.
     124&     9"012004      DiKItC.t6                               $24••' .:'.: .       .,                     ...
     2200     9/512004      Ool... O,ncr". COrporation             1183.12
     2223     91812004      00. .Gtl'!tra' CorpOflillon            $1lSU4" .
     220&     91412004      Dolan.... St~•• IIIC.                  1112.32 .
     223.2    9191.2804     OoIIer T... Sklrtl, IIIC.               &&4.24 :;..
     2236     91912004      Doll., TAltl Stotelt, Inc..             $61.70 :....,.
                                                                    tt9.82 !'. '. .
                                                                                              , .
     22S2     9/~1/2004     Oollar Tn. Stoma, Inc.
     22U      918r2004      exxon                                    '$43'" ..:,.\                         .\

     2253     ~/i1/~OO4     Femily Coller                          Ut<te8.:.··
     2221     9f11100.      fred.                                  $10130· .'
                                                                   $137.79:" .            .......
     2224     9f8120~       Fredt
     2226     91812004     . G~ F~ CloltllnO.lne                   $200.00::..              ..:     '.'




     2236     919/2004       GOOdy'a Fa(nIly Gbltung, tnc          $20837,. :,
     ~24a     91111200..    GeJOdIf'S Fltlilv Ckl1hing. 'nlf.       t.200.00" ...,
     U&1      9/tt/2004     G!Jody's family Clolhlng, InG.          '200.00, .:. >:               ..   '


     2256     9/1"'004      Goody. Ftmlly Clothlttg, Inc            1219.40 . ..                  ....
     2991     913120001     HomtOapol                              S40000' ....: .
     :.I23~   '191a004      HomeD_pol                              SU2.08,··
     224)     91iD/2G04     HcmeDopo\                              $27U9,
     21'2     91312004      JC PlnnlY Home OfW.:.                  $200ODi'
     22-"0    MIQOOt        KM08c                                   S187.68· .'
     22$5     9Jt11200"     )(rOller                                It5".7$
     22S1     91U1200.4     lWttr                                   $127.06
     1:l44    9/t0l2oo4     Lewes Compl(lktl, Inc.                  $33".28 ~.
     2193     8"4'2004      McOonakls                                $2303 :.: ,
     220&     '1&2004       p.1COon.Jds                               $1.4.040:' ::.
     22046    9110/2004     McOclNlJcSs                               '19.llD: _
     2221     fttmOOf       O'Reilly Auto Plltf                    $127 ..1 :.
     2242     9/1012004     P.rty City Corporation                    '''324, '..                                              ."   ..
     2U$      Q/6I2004      Plu.Hut                                  $57 Cl6 "      <
     22.. e   9/i112OO4     S..,.                                   $40000 :
     nOt      f15fZOO4      '6h.U                                   132..0' '.
     2lU      9/912004      SbI!U                                   $43.00 I
     2234     91lt12004     611 9'                                 $14835: .. :
                                                                    $18.34 t .'               ....
     2218     91612004 SullWB'j
     2247     1)/111200" SUbwAy                                     Si924 :
     21&4     913/2004 , SUP'! Slop                                   UU1j·· .
     2200     f/6l201H      T~ooe.1                                   $2&.64 .... : '.
.    21M      9131200.t     T~ Mlt)Ul                               ~OO.oo i"':: .
     2150     0/1112004     WallJ..ns                               l100.7& ;'..' ,.. ' :                                      .
     2235     919f200c      'Marge,ens                              l120.00; ," .. '.
     at.,     91312004      w.r.MlrtS'o~ •• (nc.                    $400oo~. :':" .
     2i88     9/312004      'A'D1-Mart 510,.., Ino                  '40000 ,.'      ... '.
     2222     91712004      waf.Malt Sto,.~. (tiC                   'f82 29 j :........:
     2237     111912004     Wal.MtIIt SIC)/Ws. Ina                  $20000 i' .:: .
     2217     91612004      WId ~IV~ Ol)untry                       S,22&.87 t'

                            TOTAL                               $1,6(l1.'e
                                                                                                                                                   i



                            A1t18ndor. S
                            A1el(an~t. V
                            e~
                            Gulley
                            1<100
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AD 245D        (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 6 - Schedule of Payments

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                                                                                                          Judgment - Page _ _           5
DEFENDANT: MONICA C. ECKWOOD
CASE NUMBER: 4:04cr00249-06 JMM

                                                            SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A      0      Lump sum payment of $                                       due immediately, balance due

              D not later than                                               , or
              D in accordance with D C,                 D     D,     D E,or         D F below); or
B      r;f Payment to begin immediately (may be combined with                       DC,       D D, or    ~F below); or

C      D     Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                          (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D      D     Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                           (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D      Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F     r;f Special instructions regarding the payment of criminal monetary penalties:
           Restitution is payable during incarceration at the rate of 50% per month of all funds earned from prison
           employment.




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary renalties is due during the period of imprisonment. All criminal monetary penaltIes, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




r;f Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
      corresponding payee, if appropriate.
    Acct 29: 4:04cr249-01 - S. Alexander; 4:04cr249-02 - V. Alexander, 4:04cr249-02 - S. Gulley, 4:04cr249-04 - N. King,
    4:04cr249-05 - K. Gordon; 4:04cr247-07 C. Pickens, 4:04cr249-08 - C. Miller, 4:04cr249-09 - S. Dunn, 4:04cr249-10-
    J. Thompson, 4:04cr249-11 - M. Caffey, 4:04cr249-12 L. Mabrie.
    Acct 8: 4:04cr249-01 - S. Alexander; 4:04cr249-02 - V. Alexander, S. Gulley, 4:04cr249-04 - N. King - 4:04cr249-04
o     The defendant shall pay the cost of prosecution.

o     The defendant shall pay the following court cost(s):

o     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
